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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

MINUTE ORDER —- MOTION HEARING

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JUDGE: Jeffrey L. Cureton
LAW CLERK; J, Gillett
COURT REPORTER: none

CASE NO.; 4:22-CV-430-Y

CASE STYLE: Vargas v. Association of Professional Flight Attendants, ef al.
DATE HELD: 12-26-23

TIME; 10:00 a.m. — 11:03 a.m.

TOTAL TIME IN COURT = 63 minutes

APPEARANCES:

PLAINTIFF: Eugenio Vargas (Not Present)
COUNSEL FOR PLAINTIFF: Kerri Phillips

DEFENDANT: Association of Professional Flight Attendants, Julie Hendrick, and Erik Harris
COUNSEL FOR DEFENDANTS: Jeffrey Bartos, Charlette Matts, James Sanford, and Michael Rake

PROCEEDINGS CONDUCTED:
A motion hearing was held regarding the patties’ various motions,
- Plaintiff's Amended Motion to Compel [doc. 134] is DENEED;

- Plaintiff's Second Motion to Compel [doc. 139] is GRANTED in part and DENIED in part
in that:

a. Plaintiffs motion is GRANTED with regard to responsive documents related to Nena
Martin;

b. Plaintiffs Motion is DENIED with regard to all other requested relief: and

c. The Court ORDERS Defendants to redouble their efforts to find and produce responsive
documents regarding Julie Hedrick.

- Plaintiffs Motion to Quash and for Protective Order [doc. 169] is GRANTED in part in that
Defendants shall issue a new notice of deposition for February 1-2, 2024. Plaintiff withdrew
his Motion for Protective Order.

The hearing concluded.
